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                                                 UNITED STATES DISTRICT COURT
                                                             Eastern District of New York
         UNITED STATES OF AMERICA                                                         Presiding Judge: ____________________________________
                                                                                                           Joanna Seybert, Senior U.S.D.J.
                      -v-                                                                 Case No(s).:     ____________________________________
                                                                                                           23-cr-0197-JS-AYS
         ____________________________
                  Nancy Marks                                                             Date:            ____________
                                                                                                           10/5/2023
                                                                                          Start Time:      ____________
                                                                                                           3:13 PM      Total Time: _____________
                                                                                                                                    30 mins.

                                               MINUTE ENTRY FOR A CRIMINAL PROCEEDING

                                           SEALED PROCEEDING: ☐ Yes ☐       ✔ No
I. APPEARANCES:
Defendant (# ____
              2 ): ____________________________________________
                   Nancy Marks                                  Counsel: ________________________________________________
                                                                         Raymond Parini and Maureen Hoerger
☐
✔Present ☐ Not Present ☐ ✔In Custody ☐ On Bond ☐ ✔Surrendered   ☐
                                                                ✔Retained ☐ Federal Defender ☐ CJA ☐ _________________

Defendant (# ____ ): ____________________________________________                         Counsel: ________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered                              ☐ Retained ☐ Federal Defender ☐ CJA ☐ _________________

Defendant (# ____ ): ____________________________________________                         Counsel: ________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered                              ☐ Retained ☐ Federal Defender ☐ CJA ☐ _________________

Defendant (# ____ ): ____________________________________________                         Counsel: ________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered                              ☐ Retained ☐ Federal Defender ☐ CJA ☐ _________________

Government: __________________________________________________
            Anthony Bagnuola, Ryan Harris, Laura Zuckerwise, Jacob Steiner, John Taddei   Court Reporter: __________________________________________
                                                                                                          Kristi Cruz

Pretrial/Probation: ______________________________________________
                    Amanda Sanchez                                                        FTR Time: ______________________________________________

Interpreter: ____________________________ Language: ______________                        Courtroom Deputy: _______________________________________
                                                                                                            Eric L. Russo

☐ See Additional Appearances page.

II. PROCEEDINGS HELD:
☐✔ In-Person        ☐
                    ✔ Arraignment                                            ☐ Evidentiary Hearing            ☐
                                                                                                              ✔ Plea Hearing
☐ By Telephone      ☐
                    ✔ Bond Hearing                                           ☐ Fatico Hearing                 ☐ Sentencing/Re-Sentencing
                    ☐ Curcio Hearing                                         ☐
                                                                             ✔ Initial Appearance             ☐ Status/Pre-Trial Conference
                    ☐ Detention Hearing                                      ☐ Motion Hearing

☐ Other Proceeding: _____________________________________________________________________________________________________

III. PROCEEDINGS SUMMARY:
☐✔ Arraignment held regarding _____________________________________________________________________________________________.
                              count one (1) of the single-count Information filed on 10/5/2023
    ☐✔ Defendant __________
                      2      initial appearance before this Court.
    ☐✔ Defendant __________
                      2      waived Indictment. Waiver(s) executed.
    ☐ Defendant __________
     ✔                2      waived the public reading of the charging instrument.
    ☐ The Court read the charges outlined in the charging instrument and the defendant(s) acknowledged the charges.
    ☐✔ Defendant __________
                      2      entered a plea of NOT GUILTY as to all counts of the charging instrument.
    ☐✔ The Government was advised and acknowledged its obligation under Rule 5(f) of the F.R.Cr.P. and the Due Process Protections Act.
         The Court will issue a written order with further details.
    ☐ Defendant __________ waived Speedy Trial from ____________________. (Excludable Code: ____ )
    ☐ Defendant __________ did not waive Speedy Trial.
    ☐ Speedy Trial for Defendant __________ waived from ____________________ by order of the Court. (Excludable Code: ____ )
    ☐ The Court deems (or previously deemed) this case complex.
      ☐ Speedy Trial for Defendant __________ is waived pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii). (Excludable Code: XT)
    ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.
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☐ Curcio Hearing held.
  ☐ The parties presented their oral arguments to the Court.
  ☐ The defendant was informed of the potential dangers arising from any conflicts of interest with current defense counsel.
  ☐ The defendant acknowledged and waived any potential conflicts of interest and wishes to proceed with current defense counsel.
  ☐ The defendant wishes to relieve current defense counsel and:
     ☐ retain new counsel.
         ☐ Defendant must retain new counsel by __________; or within __________________ of this hearing.
     ☐ have new counsel appointed by the Court.
         ☐ The defendant completed and filed a CJA 23 Financial Affidavit for the Court’s review.
  ☐ The Court’s decision ☐ was entered on the record; ☐ will be entered under a separate order; ☐ was reserved.
  ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.

☐ Status/Pre-Trial Conference held regarding _________________________________________________________________________________.
  ☐ This was an initial appearance before this Court by Defendant __________.
  ☐ The parties advised the Court of the status of the case.
  ☐ Defendant __________ waived Speedy Trial from ____________________. (Excludable Code: ____ )
  ☐ Defendant __________ did not waive Speedy Trial.
  ☐ Speedy Trial for Defendant __________ waived from ____________________ by order of the Court. (Excludable Code: ____ )
  ☐ The Court deems (or previously deemed) this case complex.
      ☐ Speedy Trial for Defendant __________ is waived pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii). (Excludable Code: XT )
  ☐ The following briefing schedule was set:
      ☐ ________________________________________________ due by: __________.
      ☐ ________________________________________________ due by: __________.
      ☐ ________________________________________________ due by: __________.
      ☐ ________________________________________________ due by: __________.
  ☐ The parties were directed to file a proposed briefing schedule for this Court’s approval on or before __________.
  ☐ The Court deems (or previously deemed) this case trial ready.
      ☐ The Court set the following pre-trial submission schedule:
          ☐ All 3500 material and 404(b) evidence shall be turned over by:        __________.
          ☐ Motions in Limine shall be filed by:                                  __________.
          ☐ Oppositions to Motions in Limine due by:                              __________.
          ☐ Replies to Motions in Limine due by:                                  __________.
          ☐ Proposed Voir Dire questions and case summary due by:                 __________.
          ☐ Proposed exhibits and witness list due by:                            __________.
          ☐ Requests to Charge and proposed Verdict Sheets:                       __________.
      ☐ The Court will enter a separate order outlining the pre-trial submission schedule.
  ☐ The parties are to ensure courtesy copies of their submissions (outlined above) are promptly provided to Chambers.
         (Note: Attaching the documents to an e-mail does not satisfy this directive.)
    ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.

☐ Evidentiary/Motion Hearing held regarding ________________________________________________________________________________.
  ☐ The parties presented their oral arguments to the Court.
  ☐ Witness(es) were called ☐ for the Government; ☐ for the defendant(s).
  ☐ Exhibits were entered into evidence.
  ☐ The Court made the following ruling(s): ☐ Motion granted; ☐ Motion denied; ☐ Motion granted, in part, and denied, in part.
     ☐




    ☐ The Court’s decision ☐ was entered on the record; ☐ will be entered under a separate order; ☐ was reserved.
    ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.
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☐
✔ Plea Hearing held as to count(s) __________________________________________________________________________________________.
                                   count one (1) of the single-count Information filed on 10/5/2023
  ☐
  ✔ The defendant was informed of the constitutional rights being waived and any potential consequences of pleading guilty.
  ☐
  ✔ The defendant withdrew previously entered not guilty plea and entered a plea of GUILTY to the above referenced count(s).
  ☐
  ✔ Court found that the there is a factual basis for the plea and accepted the defendant’s plea of guilty.
  ☐ An Order of Forfeiture was executed.
  ☐
  ✔ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
  ☐ The parties waived the preparation of the Presentence Investigation Report.
  ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.

☐ Fatico Hearing held.
  ☐ The parties presented their oral arguments to the Court.
  ☐ Witness(es) were called ☐ for the Government; ☐ for the defendant(s).
  ☐ Exhibits were entered into evidence.
  ☐ The Court’s decision ☐ was entered on the record; ☐ will be entered under a separate order; ☐ was reserved.
  ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.

☐ Sentencing/Re-Sentencing held as to count(s) _______________________________________________________________________________.
  ☐ The parties advised the Court that there are no objections to the Presentence Investigation Report.
  ☐ The parties outlined their objections to the Presentence Investigation Report on the record.
  ☐ The Court adopted the Presentence Investigation Report without change.
  ☐ The Court outlined changes to the Presentence Investigation Report on the record.
  ☐ Statements were heard from ☐ defense counsel; ☐ the defendant; ☐ the Government; ☐ the victim(s); ☐ others.
  ☐ The defendant was sentenced to IMPRISONMENT for a total term of _____________________________________________.
     ☐ Upon release, the defendant shall be on SUPERVISED RELEASE for a total term of ________________.
         ☐ The defendant shall comply with the standard conditions of supervision (to be outlined in the judgment).
         ☐ The defendant shall comply with the special conditions of supervision ordered by the Court (to be outlined in the judgment).
     ☐ The Court did not impose a term of Supervised Release.
  ☐ The defendant was sentenced to PROBATION for a total term of ________________.
     ☐ The defendant shall comply with the standard conditions of supervision (to be outlined in the judgment).
     ☐ The defendant shall comply with the special conditions of supervision ordered by the Court (to be outlined in the judgment).
  ☐ The defendant must pay the following criminal monetary penalties:
     ☐ RESTITUTION in the amount of                           $ ______________.
         ☐ An Order of Restitution was executed.
     ☐ A FINE in the amount of                                $ ______________.
     ☐ A SPECIAL ASSESSMENT fine in the amount of $ ______________.
     ☐ An AVAA ASSESSMENT fine in the amount of $ ______________.
     ☐ A JVTA ASSESSMENT fine in the amount of                $ ______________.
  ☐ The interest requirement on any of the criminal monetary penalties:
     ☐ was ordered on the amounts of more than $2,500.00.
     ☐ was modified, as stated on the record.
     ☐ was waived/not ordered/not applicable.
  ☐ Restitution ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
  ☐ A fine and/or other assessment ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
  ☐ The determination of Restitution and/or a fine was deferred pending further proceedings or by motion to the Court.
  ☐ All other conditions shall remain in effect as previously ordered and outlined in the judgment(s) dated __________.
  ☐ The Order of Forfeiture dated __________ was adopted as the Final Order of Forfeiture.
  ☐ A Final Order of Forfeiture was executed.
  ☐ The defendant’s right to appeal the Court’s sentence
     ☐ was waived pursuant to the Plea Agreement.
     ☐ was not waived and the defendant can file an appeal within fourteen (14) days of the date the judgment is entered.
  ☐ All open counts in the charging instrument(s) were dismissed on the motion of the United States.
  ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.
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IV. RULINGS MADE REGARDING DEFENDANT RELEASE STATUS:
☐✔ Bond Hearing/Detention Hearing held.
   ☐ Defendant __________ did not present a bond application to the Court.
      ☐ An Order of Detention was executed as to Defendant __________.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant __________.
   ☐✔ The bond application/modification was granted as to Defendant __________.
                                                                            2
      ☐
      ✔ An Order Setting Conditions of Release and Bond was executed as to Defendant __________.
                                                                                             2
      ☐ The conditions of release were modified as stated on the record as to Defendant __________.
      ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant __________.
   ☐ The bond application/modification was denied as to Defendant __________.
      ☐ An Order of Detention was executed as to Defendant __________.
   ☐ The Government moved for immediate detention of Defendant __________.
      ☐ The motion was ☐ granted; ☐ denied; ☐ granted, in part, and denied, in part.
      ☐ An Arrest Warrant was executed as to Defendant __________.
      ☐ An Order of Detention was executed as to Defendant __________.
      ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant __________.
   ☐ The decision regarding the bond or detention application was reserved.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant __________.
      ☐ A temporary Order Setting Conditions of Release and Bond was executed as to Defendant __________.
   ☐ See Section V of this minute entry (page 5) for additional details and/or rulings.

For a defendant currently IN-CUSTODY:
☐ Defendant __________ remain(s) in custody.

☐ The following order(s) was/were executed and shall be forwarded to the U.S. Marshals Service and/or the Federal Bureau of Prisons:
  ☐ A Medical Evaluation Order as to Defendant __________.
  ☐ A Competency Order as to Defendant __________.
  ☐ A Force Order as to Defendant __________.

☐ The defendant, being sentenced to time served (time in-custody prior to sentencing/re-sentencing), shall be released, forthwith.
  ☐ A Time Served Order was executed and submitted to the U.S. Marshals Service.
  ☐ Upon release, the defendant will be under supervision of the U.S. Probation Department until the completion of the ordered term of Supervised
        Release.
    ☐ Upon release, the defendant will not serve a term of Supervised Release.

For a defendant currently AT LIBERTY:
☐ Defendant __________ remain(s) on bond.

☐ The defendant, being sentenced to a term of imprisonment, shall be immediately remanded to the custody of the U.S. Marshals Service and/or the
    Federal Bureau of Prisons.

☐ The defendant, being sentenced to a term of imprisonment, shall surrender for the service of the sentence before 2:00 PM on __________ at the
    institution designated by the Federal Bureau of Prisons. The defendant will remain at liberty and under supervision of the Pretrial Services
    Department until the surrender date.
    ☐ The U.S. Marshals Voluntary Surrender form was executed.
    ☐ Motions to extend the surrender date must be made at least a thirty (30) days prior to the surrender date.
    ☐ The defendant was advised that there will be no extensions of the surrender date.

☐ The defendant, being sentenced to a term of Probation, will remain at liberty and under supervision of the U.S. Probation Department until the
    completion of the ordered term of Probation.

☐ The defendant, being sentenced to time served (time in-custody prior to being released), shall remain at liberty and under supervision of the U.S.
    Probation Department until the completion of the ordered term of Supervised Release.

☐ The defendant, being sentenced to time served (time in-custody prior to being released as well as time under supervision), shall be released from
    all conditions of supervision, forthwith.
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V. OTHER RULINGS MADE DURING THE PROCEEDINGS:
☐ The record of this proceeding was deemed sealed. Transcripts of this proceeding can be made available to the Court, the defendant(s), defense
    counsel, and the Government ONLY. Any other non-party who wishes to get a copy of the transcripts must file a written request to the Court for
    consideration.

☐




VI. FURTHER PROCEEDINGS SET:
☐ Bond Hearing:                 __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Detention Hearing:            __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Curcio Hearing:               __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Status/Pre-Trial Conf.:       __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Evidentiary Hearing:          __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Motion Hearing:               __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Jury Selection:               __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Jury Trial:                   __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Plea Hearing:                 __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Fatico Hearing:               __________ at _________ before Judge ________________(____________________), as to Defendant _________.
☐ Sentencing/Re-Sentencing: __________
✔                                 4/12/2024 at _________
                                                  1:30 PM before Judge ________________(____________________),
                                                                       Joanna Seybert   In Courtroom 1030.        as to Defendant _________.
                                                                                                                                         2
   ☐✔ Parties are directed to file their sentencing memorandums by __________.
                                                                     4/5/2024 Once the memorandums are filed, the parties are to ensure courtesy
      copies of their submissions are promptly provided to Chambers. (Note: Attaching the documents to an e-mail does not satisfy this directive.)
      If a party chooses to proceed without filing a sentencing memorandum, a letter to the Court advising as such must be filed on said due date, in
      lieu of the memorandum.
☐ Further instructions regarding the proceeding(s) set:
  ☐ The Court ordered the proceeding(s) to be held via the Court’s teleconferencing system. Parties are directed to dial the following telephone
      number at the designated time: 877-336-1839, access code 7231185.
    ☐




☐ No further proceedings have been set at this time. (Note: Further proceedings may have been set previously. Refer to the docket sheet.)
